           Case 2:17-cv-00359-APG-VCF Document 46 Filed 10/02/20 Page 1 of 2



1    Lisa A. Rasmussen, Esq.
2
     Nevada Bar No. 7491
     The Law Offices of Kristina
3    Wildeveld & Associates
4
     550 E Charleston Blvd. Suite A
     Las Vegas, NV 89104
5    Tel. (702) 222-0007
     Fax. (702) 222-0001
6
     Email: Lisa@LRasmussenLaw.com
7
     Attorneys for Karisma Garcia
8

9

10                          UNITED STATES DISTRICT COURT
11
                                      DISTRICT OF NEVADA
12

13

14   KARISMA GARCIA,                             Case No.: 2:17-CV-00359 APG-VCF
15                         Plaintiff,
16                                               REVISED SCHEDULING ORDER
               vs.
17
     JAMES COX, et al,
18
                                Defendants.
19

20

21
           Based upon the stipulation of the parties, and good cause appearing,

22
           IT IS HEREBY ORDERED that the deadline for fact discovery to be disclosed,

23   any written discovery responses and depositions to be concluded is hereby extended to

24   Friday, January 8, 2021.

25         IT IS FUTHER ORDERED that the dispositive motion deadline is extended to

26   Monday, February 8, 2021.

27   ...

28   ...
     REVISED SCHEDULING ORDER - 1
           Case 2:17-cv-00359-APG-VCF Document 46 Filed 10/02/20 Page 2 of 2



1
           IT IS FURTHER ORDERED that the last day to file the Joint Pretrial Order is
2                                       21
     extended to Wednesday, March 10, 2020, or that this date be suspended until 30 days
3
     after a decision is made on any dispositive motions that the parties may file.
4
                   10-2-2020
           Dated: ________________
5

6
                                       __________________________________________
7                                      The Honorable Cam Ferenbach
                                       United States Magistrate Judge
8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
     REVISED SCHEDULING ORDER - 2
